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                                                                                 Judge Ann Aiken



                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF OREGON
                                     EUGENE DIVISION


 CASCADIA WILDLANDS et al.,                        Civ. Case No. 6:22-cv-00767-AA

                                     Plaintiffs,

                       vs.                         JOINT PROPOSED CASE SCHEDULE

 CHERYL ADCOCK et al.,

                             Federal Defendants.




       The parties submit this Joint Proposed Case Schedule in response to the Order dated May

26, 2022. ECF No. 3. In accordance with the provisions of Rule 16(b) of the Federal Rules of

Civil Procedure, the parties have conferred, and undersigned counsel for the parties hereby

submit their proposed scheduling order below.

       I.       Nature of the Case

       The parties agree that this case is governed by the judicial review provisions of the APA,

5 U.S.C. §§ 701-706. The parties further agree that this case is therefore exempt from initial

disclosures pursuant to Federal Rule of Civil Procedure 26(a)(1)(B)(i) and from the requirements

of Rule 26(f) of the Federal Rules of Civil Procedure.

       With regard to Alternative Dispute Resolution, the parties have discussed the possibility

of ADR proceedings at a future juncture. In light of this discussion and understanding, the

parties request that the ADR Report requirement be waived.

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       II.      Proposed Deadlines

       The parties respectfully propose the following deadlines for this matter:

1. Federal Defendants, Chery Adcock et al., will formally lodge with the court the

   Administrative Record for this action on or before November 1, 2022.

2. Any motions to complete or supplement the Administrative Record shall be filed on or before

   December 23, 2022.

3. The following deadlines shall apply:

       a. Plaintiffs’ motion for summary judgment is due on or before February 3, 2023.

       b. Federal Defendant’s combined cross-motion for summary judgment and response to

             Plaintiffs’ motion for summary judgment is due on or before April 7, 2023.

       c. Plaintiffs’ combined reply in support of their motion for summary judgment and

             response to Federal Defendant’s cross-motion for summary judgment is due on or

             before May 5, 2023.

       d. Federal Defendant’s reply in support of its cross-motion for summary judgment is due

             on or before June 2, 2023.

       In light of the complexity of the issues raised in this matter, the parties also respectfully

request that the following word limits apply to their summary judgment briefs:

       a. Plaintiffs’ opening brief in support: 12,500 words.

       b. Federal Defendant’s combined brief in support/response: 14,000 words.

       c. Plaintiffs’ combined response/reply: 12,500 words.

       d. Federal Defendant’s reply: 11,000 words.

       The parties agree not to oppose a motion to extend the word count.


Respectfully submitted this 31st day of August, 2022.
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                                 CERTIFICATE OF SERVICE


       The undersigned hereby certifies that on August 31, 2022, I electronically filed a

Joint Proposed Case Schedule with the Clerk of the Court using the CM/ECF system, which will

send notification of such filing to the following CM/ECF participants: Sean.Martin@usdoj.gov.



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